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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
v.                                  )                Case No. 5:03-CR-40142-JAR
                                    )
DAVID C. WITTIG and                 )
DOUGLAS T. LAKE,                    )
                                    )
                        Defendants. )
__________________________________ )
                                    )
WESTAR ENERGY, INC.,                )
                                    )
                        Petitioner. )
__________________________________ )
                                    )
BETH G. WITTIG,                     )
                                    )
                        Petitioner. )


      CORRECTED FINAL ORDER OF FORFEITURE AS TO DAVID C. WITTIG

       This matter comes before the Court on the Petition of Westar Energy, Inc. For a

Determination of Rights to Property Identified in this Court’s “Preliminary Order of Forfeiture

as to David C. Wittig”, filed February 2, 2006, and related pleadings (collectively referred to

hereinafter as “Westar’s Pleadings”), and “Beth G. Wittig's Petition for An Ancillary Proceeding

by Beth Wittig as to David C Wittig”, filed February 2, 2006, and related pleadings (collectively

referred to hereinafter as “Beth Wittig’s Pleadings”).

       Westar’s Pleadings assert its interest in forfeited property identified in the Preliminary

Order of Forfeiture as to Defendant David C Wittig filed January 2, 2006, and an interest in any

substitute assets. Beth Wittig’s Pleadings assert her interest in forfeited property identified in

the Preliminary Order of Forfeiture as to Defendant David C Wittig, filed January 2, 2006, and
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her interest in “Substitute Assets” identified in the Court’s Order Modifying Restraining Orders

and Preliminary Orders of Forfeiture, filed February 7, 2006.

       The Preliminary Order of Forfeiture as to David C. Wittig (hereinafter “Preliminary

Order of Forfeiture”) found, in accordance with the jury’s verdicts as to Defendant Wittig on

Counts 1 and 16-22, that any right title or interest Defendant Wittig may have or claim to have

in the following property was subject to forfeiture:

               Item 1:        the split dollar life insurance policy, imputed income and payout in

                              the amount of $28,033,928.00.

               Item 2:        long term incentive in the amount of $0.

               Item 3:        bonuses in the amount of $5,370,000.00.

               Item 4:        Guardian restricted stock unit dividends in the amount of

                              $294,560.00.

               Item 5:        $4,013,719.40 of the real estate known as the Landon Mansion,

                              located at 521 Westchester Road, Topeka, Kansas 66604

                              (hereinafter “Landon Mansion”).

               Item 6:        $17,460.00     of   the   2001    Ferrari,   500   Maranello, VIN

                              ZFFZS49A010122784.

               Item 7:        unpaid Westar Stock units for compensation in the amount of

                              6853.84 units, plus Westar Dividends in the amount of $12.73.

               Item 8:        unpaid Redeemed Guardian Series C Stock units in the amount of

                              $3,139,000.00.

               Item 9:        unpaid Guardian Series D in the amount of 1,345 stock units and

                              unpaid Guardian Series E in the amount of 4,391 stock units.
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               Item 10:       unpaid Guardian Cash Dividends (Series C and E) in the amount of

                              $1,234,677.89.

               Item 11:       unpaid benefits claimed by the defendant as a result of a Qualified

                              Termination.

               Item 12:       restricted share units outstanding (not vested) of Guardian Series D

                              in the amount of 5,894 shares.

               Item 13:       restricted share units outstanding (not vested) of Guardian Series E

                              in the amount of 443 shares.

               Item 14:       any arbitration award granted to Wittig and Lake, jointly or

                              individually, arising out of their employment at Westar and any

                              subsidiary or affiliate company.

(Preliminary Order of Forfeiture at 1-3.) (These items are collectively referred to hereinafter as

the “Property.”)

       The Court’s Order Modifying Restraining Orders and Preliminary Orders of Forfeiture,

dated February 7, 2006, amended the preliminary order of forfeiture to include the following

substitute assets pursuant to 21 U.S.C. § 853(p)(1):

               -      proceeds of the sale of the couple’s New York condominium amounting to

                      more than $8 million into David Wittig’s Smith Barney account 183-

                      09995-10-333 and Beth Wittig’s Smith Barney account 183-10015-14-

                      333;

               -      Credit Suisse/First Boston account number 215-988395;

               -      proceeds in the account of David and Beth Wittig at Silver Lake Bank,

                      account number 579-327, and Beth Wittig’s individual account number




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                579319;

          -     proceeds in the joint account of David and Beth Wittig number

                0002406522 at Capital City Bank;

          -     proceeds in a David and Beth Wittig account number XX-XXXXXXX-6 at

                Scudder, and an individual account of Beth Wittig 11-125288393-5;

          -     a Deltec Asset Account no. 5B2-302561 in the name of Beth Wittig;

          -     a J.P. Morgan account (number unknown);

          -     a Beth Wittig account number 546-39886 at Merrill Lynch;

          -     a Rydex account of Beth Wittig number 1003007440 at Rydex;

          -     QuVis stock;

          -     QuVis $500,000 secured note;

          -     QuVis Factoring Pool;

          -     Fox Run and WACO partnership shares;

          -     KMF Partners account number 2796 in the name of Beth Wittig;

          -     Carnival Films LLC interest in the name of Beth Wittig;

          -     Sage Capital Funds LLC interest in the name of Beth Wittig;

          -     Para Partners fund in the name of Beth Wittig;

          -     any previously undisclosed accounts, whether saving, investment or

                financial of any kind, in the name of David C. or Beth G. Wittig jointly or

                individually;

          -     any and all personal property held by the Wittigs directly or indirectly in

                storage.




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       On March 7, 2006, the United States and Westar Energy, Inc. filed a Joint Motion for

Entry of Final Order of Forfeiture as to David C. Wittig (“hereinafter “Joint Motion”) indicating

that they had reached an agreement on the disposition of certain of the Property identified in the

Preliminary Order of Forfeiture.

       On March 8, 2006, the United States and Beth G. Wittig announced during court

proceedings that they had reached an agreement on the disposition of Property identified in the

Preliminary Order of Forfeiture and all Substitute Assets identified in the Court’s Order

Modifying Restraining Orders and Preliminary Orders of Forfeiture. A Settlement Agreement

between the United States and Beth G. Wittig has been provided to the Court, which has

reviewed its terms.

       On March 8, 2006, the Court heard argument regarding whether the jury’s forfeiture of

“any arbitration award” included $857,496.06 that Westar transferred based on an interim order

of the arbitration panel awarding David Wittig reimbursement of attorneys fees and expenses

incurred in the arbitration, which was placed in an escrow account held by DLA Piper Rudnick

Gray Cary LLP.

       The Court, having considered the agreements between the Parties and the arguments as to

contested issues, enters the following Final Order of Forfeiture as to David C. Wittig.

       IT IS HEREBY ORDERED AND ADJUDGED THAT, based on the agreement of the

United States and Westar Energy, Inc. that Westar Energy, Inc. has title to Items 2 and 7-14 of

the Property superior to any interest the United States obtained through forfeiture of any interest

Defendant David C. Wittig had in Items 2 and 7-14 of the Property, and based on the agreement

between the United States and Beth G. Wittig that Beth G. Wittig waives any and all right, claim




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title and interest in Items 2 and 7-14, any legal interest the United States obtained in Items 2 and

7-14 of the Property is transferred and released to Westar Energy, Inc.

       IT IS HEREBY ORDERED AND ADJUDGED THAT, the value of the long term

incentive in Item 2 is $52,086.42.

       IT IS HEREBY ORDERED AND ADJUDGED THAT the jury’s forfeiture of “any

arbitration award” did not include the $857,496.06 that Westar transferred based on an interim

order of the arbitration panel awarding David Wittig reimbursement of attorneys fees and

expenses incurred in the arbitration, which was placed in an escrow account held by DLA Piper

Rudnick Gray Cary LLP.

       IT IS HEREBY ORDERED AND ADJUDGED THAT, based on the agreement in the

Joint Motion that Westar Energy, Inc. has title to the Split-Dollar Insurance Policy portion of

Item 1 (excluding the Payout and Imputed Income) of the Property superior to any interest the

United States obtained through forfeiture of any interest Defendant David C. Wittig had in the

Split-Dollar Insurance Policy portion of Item 1 of the Property, and based on the agreement

between the United States and Beth G. Wittig, that Beth G. Wittig waives any right, claim title

and interest in all portions of Item 1, any legal interest the United States obtained in the Split-

Dollar Insurance Policy portion of Item 1 of the Property is transferred and released to Westar

Energy, Inc.

       IT IS FURTHER ORDERED AND ADJUDGED THAT Item 5 is forfeited to the United

States pursuant to the terms of the Settlement Agreement between the United States and Beth G.

Wittig, excepting $350,000 of sales proceeds, which the U.S. Marshal’s office is ordered to pay

to Beth G. Wittig.

       IT IS FURTHER ORDERED AND ADJUDGED THAT the government releases any




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and all forfeiture interest in Item 6 in accordance with the Settlement Agreement between the

United States and Beth G. Wittig.

       IT IS FURTHER ORDERED AND ADJUDGED THAT, due to the unavailability of the

Split-Dollar Payout and Imputed Income portion of Item 1, Item 3 and Item 4 for one or more of

the reasons specified in 21 U.S.C. § 853(p)(1), $7,017,460.00 is forfeited to the United States

pursuant to and in accordance with the Settlement Agreement between the United States and

Beth G. Wittig, which agreement resolves all claims and rights as to the Substitute Assets

identified in the Court’s Order Modifying Restraining Orders and Preliminary Orders of

Forfeiture.

       IT IS FURTHER ORDERED AND ADJUDGED THAT Westar Energy, Inc. and the

United States shall hold any of the property which it is granted in this Final Order, or any

proceeds thereof, pending the disposition of any appeals of final judgment entered in this case.




       IT IS SO ORDERED this 3rd day of April, 2006.




                                              S/ Julie A. Robinson
                                             Hon. Julie A. Robinson
                                             United States District Judge




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Stipulated to, except as to the Court’s ruling on the
$857,496.06 that Westar transferred to DLA Piper
Rudnick Gray Cary LLP which is approved as to
form only:

UNITED STATES OF AMERICA

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BETH G. WITTIG



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